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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                      ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                    2:12-cr-00463-JCM-VCF
                                                          ORDER
7     vs.

8     FREDERICK V. WILLIAMS,

9                           Defendant.

10

11            Before the court is the Government's Request to Re-Canvas the Defendant Regarding His Waiver

12   of Counsel and Request to Represent Himself. (#453).

13            IT IS HEREBY ORDERED that a hearing on the Government's Request to Re-Canvas the

14   Defendant Regarding His Waiver of Counsel and Request to Represent Himself. (#453) is scheduled for

15   11:00 a.m., March 17, 2015, in courtroom 3D, Lloyd D. George U.S. Courthouse, 333 Las Vegas

16   Boulevard South, Suite 3005, Las Vegas, Nevada 89101.

17            The court clerk is directed to mail a copy of this order to Mr. Frederick V. Williams, at 3790

18   Shirebrook Ave., Apt. 166, Las Vegas, Nevada 89115.

19            DATED this 12th day of March, 2015.

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22                                                              CAM FERENBACH
                                                                UNITED STATES MAGISTRATE JUDGE
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